     Case: 1:18-cv-05587 Document #: 766 Filed: 08/24/20 Page 1 of 5 PageID #:16503




                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

    UNITED STATES SECURITIES AND
    EXCHANGE COMMISSION,

                    Plaintiff,                                   Case No. 1:18-cv-5587

v.

    EQUITYBUILD, INC., EQUITYBUILD                               Hon. John Z. Lee
    FINANCE, LLC, JEROME H. COHEN, and
    SHAUN D. COHEN                                               Magistrate Judge Young B. Kim

                    Defendants.

                      MIDLAND’S LIMITED OBJECTION TO RECEIVER’S
                      SECOND MOTION FOR RESTORATION OF FUNDS
                    EXPENDED FOR THE BENEFIT OF OTHER PROPERTIES

           Midland Loan Services, a Division of PNC Bank, NA hereby files its Limited Objection to

Receiver’s Second Motion for Restoration of Funds Expended for the Benefit of Other Properties

(the “Second Restoration Motion”) [Dkt. No. 749],1 and in support thereof states as follows:

                                                BACKGROUND
           Kevin B. Duff, as court-appointed receiver (the “Receiver”) for the estate of EquityBuild,

Inc. and its affiliates, seeks authority to use proceeds from the sale of twenty-four (24) sold

properties (the “Sold Properties”) to “restore funds they received from other properties or the

Receiver’s account to preserve, maintain, and improve them prior to their sale.” (Dkt. No. 749 at

1.) The below chart depicts five Sold Properties that are encumbered by a first priority mortgage

in favor of Midland and the corresponding reimbursable amount being sought from each property:




1
    Midland has no position on the Receiver’s Ninth Motion to Confirm Sales, which is included in the same document.



54348348;1
     Case: 1:18-cv-05587 Document #: 766 Filed: 08/24/20 Page 2 of 5 PageID #:16504




             Property Address                                     Reimbursable Amount Requested
    1.       7760 S. Coles, Chicago, Illinois                     $67,787.76
    2.       8000-02 S. Justine, Chicago, Illinois                $113,597.64
    3.       8107-09 S. Ellis, Chicago, Illinois                  $80,850.18
    4.       8209-13 S. Ellis, Chicago, Illinois                  $55,846.86
    5.       8214-16 S. Ingleside, Chicago, Illinois              $62,821.55
                                                           Total: $380,903.99

(Dkt. No. 749-1, Ex. 2.)2

                                        LIMITED OBJECTION

         1.        Midland on a monthly basis for each property receives a rent roll and profit and loss

statement (the “Statements”). The Statements are generated by the Receiver’s property managers,

Paper Street Properties (“Paper Street”) and WPD Management LLC (“WPD”).

         2.        The Statements generally reflect for each property its monthly income and expenses

and include various subcategories, which further characterize the type of income or expense.

         3.        Paper Street’s expense reporting does not contain the level of detail provided in the

WPD reports. For example, WPD provides granular detail for its expenses—e.g., on 06/01/2020

“8107-SFH – Maintenance / Repair – Scraped, patched, sanded and painted drywall repairs” in an

amount of $245.04. Paper Street, on the other hand, provides reporting on categories such as

“Building Supplies,” “Inspection Repairs,” “Janitorial expense,” and “Repairs and Maintenance,”

without further detail.

         5.        Paper Street manages and reports for each of the properties listed in the above table.

         6.        Accordingly, Midland only has a general understanding of the expenses that appear

to have been devoted to its Sold Properties and is unable to determine whether the reimbursable




2
 Numerous investor lenders have also asserted liens on these properties. These investors will also benefit from
Midland’s objection.


                                                       2
54348348;1
   Case: 1:18-cv-05587 Document #: 766 Filed: 08/24/20 Page 3 of 5 PageID #:16505




amount requested—collectively $380,903.99—was necessary, reasonable, or beneficial to the sale

process.

         7.       The undersigned counsel requested that the Receiver cause Paper Street to provide

backup support for the following categories of expenses:

                 Upgrades, Acct. # 5518

                 Building Supplies, Acct. # 5520

                 Unit Turnover, Acct. # 5517

                 Repairs and Maintenance, Acct. # 5510

         8.       As of this filing, the requested information has not been provided.

         9.       Unless and until Midland is provided the opportunity to review the backup support

for the expenses at issue, Midland objects to the Second Restoration Motion.

                                           CONCLUSION

         Midland submits that the requested reimbursement payments should continue to be

segregated and held in suspense until later administered by the Court whether it be through a final

hearing or otherwise. Midland reserves all of its rights under the applicable loan documents and

reserves the right to supplement this limited objection and to seek such other and further relief as

may be necessary and just.

August 24, 2020                                 Respectfully Submitted,
                                                /s/ Thomas B. Fullerton
                                                Thomas B. Fullerton (6296539)
                                                Akerman LLP
                                                71 S. Wacker Drive, 47th Floor
                                                Chicago, IL 60606
                                                (312) 634-5700
                                                thomas.fullerton@akerman.com

                                                - and –



                                                    3
54348348;1
   Case: 1:18-cv-05587 Document #: 766 Filed: 08/24/20 Page 4 of 5 PageID #:16506




                                      Michael D. Napoli (TX 14803400)
                                      Akerman LLP
                                      2001 Ross Avenue, Suite 3600
                                      Dallas, TX 75201
                                      (214) 720-4360
                                      michael.napoli@akerman.com

                                      Counsel for Midland Loan Services,
                                      a Division of PNC Bank, National Association




                                         4
54348348;1
   Case: 1:18-cv-05587 Document #: 766 Filed: 08/24/20 Page 5 of 5 PageID #:16507




                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document has been served on August 24, 2020

by filing with the Clerk of Court using the CM/ECF system, which will send notification of such

filing to counsel of record.


                                                            /s/ Thomas B. Fullerton




                                                 5
54348348;1
